     Case 2:11-cr-00434-RFB-PAL           Document 191         Filed 05/09/12    Page 1 of 1




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4                                UNITED STATES DISTRICT COURT
5                                        DISTRICT OF NEVADA
6
7     UNITED STATES OF AMERICA,                                2:11-cr-0434-LDG-PAL
8            Plaintiff,
                                                               ORDER
9     v.
10    EDUARD PETROIU, et al.,
11           Defendants.
12
13          Defendant Evghenii Russu has filed a motion to revoke and/or amend the magistrate
14   judge’s order of detention pending trial, etc., (#163, response #167, reply #175). The court
15   “review[s] the evidence before the magistrate” and any additional evidence proffered by the parties
16   “and makes its own independent determination whether the magistate judge’s findings are correct,
17   with no deference.” United States v. Koenig, 912 F.2d 1190, 1193 (9th Cir. 1990). Russu’s
18   motion, however, attaches only the transcript of the December 16, 2011, continuation of the
19   detention hearing conducted on the day before, at which a substantial portion of the issues now
20   raised were addressed. Accordingly,
21          THE COURT HEREBY ORDERS that defendant Russu shall file, at his earliest
22   opportunity, the December 15, 2011, transcript along with any other evidence of record relied
23   upon by the magistrate judge in his order of detention.
24          Dated this ____ day of May, 2012.
25                                                        ________________________
                                                          Lloyd D. George
26                                                        United States District Judge
